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                       JANIAH MONROE, et. al. v. STEVE MEEKS, et. al.

                                  Case No. 3:18-CV-00156-NJR

                 United States District Court for the Southern District of Illinois

                               Third report of the first Co-Monitor

                                       November 13, 2023




Submitted by: Amanda L. Harris, MD, MPH (First Co-Monitor)




Section 1: Introduction

        This report is respectfully submitted to the Court and the involved parties. Since the

filing of the second report by this co-monitor, the progress made with respect to access and

monitoring of gender-affirming hormones for identified class members has been sustained. In

addition, IDOC has been working out the logistical concerns with regard to offering gender-

affirming surgeries and has made modest progress toward scheduling and completing surgeries,

the details of which will be provided below. There is new evidence, based upon internal notes

and endocrinology clinic notes, that new class members have emerged from the background and

are now seeking gender-affirming care within the prison environment. While this may suggest

that access to and knowledge of the existence of transgender care is improving, it is tempered by

reports of others who have chosen to retreat from care due to concerns about their ability to

safely transition while incarcerated. This underscores the importance of fostering a supportive
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environment while simultaneously expanding access to gender-affirming care; without a

coupling of these goals, progress in one area will be eroded by regression in the other.

        Information and data sharing has continued to be a challenge. The promise of monthly

census lists and quarterly lab data is sporadic and typically requires a pro-active request to

obtain. When requested, information is provided in a timely fashion. The exception to this has

been the compilation of clinic notes from the UIC Endocrinology televisits with class members.

These are thorough and complete and provided without reminders. The CQI tracker that showed

some promise has, to my knowledge, not been kept up and was never designed to be a

comprehensive monitoring tool, but rather a statistical tool based on a sample of the patient

population.

        In order to manage the data that comes from various sources and in various states of

completeness, I have created a database of my own. Accompanying this summary report is a 319

page document that represents a selection of pertinent information as provided to me (First Co-

Monitor) gleaned from spreadsheets, clinic notes, emails, IDOC forms and other miscellany

since the time of my appointment. I have already shared some reports from this database with

IDOC medical staff when I have questions or concerns. The accompanying document provides a

“face sheet” for each individual mentioned in connection with this case in any form of

information I have previously received. They are grouped according to the facility where they

were most recently housed and sorted by IIC number. The sheet contains the individual’s IIC

number, given name, preferred name (if any), DOB if known, gender identity (if known),

information about approximate release date (if known), if they are followed by the endocrine

clinic and dates of appointments, if they are on gender-affirming medications, list of medications

(if known), recent pertinent lab results, if they have been discussed at a recent committee

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meeting, if they have submitted or are being tracked for gender-affirming surgery, and any

pertinent notes as it may affect their care as a member of the class. It is my hope that having all

this information in one place will make it easier for everyone involved to quickly identify any

potential problems with compliance and to see any shortcomings.

        I cannot say with certainty that all the information contained is complete or accurate; it

is only as good as the information I have received, which is sometimes conflicting or incomplete.

When information appears to be in conflict, I do my best to judge which information is most

trustworthy and include only that information. My advice to anyone reviewing the “face sheets”

would be to concentrate on those individuals with little or no information, as those are likely to

be the class members who are not being adequately served.

Section 2: Update on the Class Population

        The total number of class members currently in custody has grown to 243 by my count

(from 175 in 2022). This is drawn from census and lab lists provided by IDOC. A person is only

removed from the class when there is clear documentation that they have been released from

custody or there is credible evidence that they do not carry a gender dysphoria diagnosis. It is

very likely that some people are counted here but are no longer in custody. If a person is on a list

one month and then simply disappears from the list, I do not assume that they have been released

from custody. My hope is that the complete list of individual “face sheets” can be reviewed for

accuracy by IDOC and updated accordingly.

        Below is a breakdown of class members by gender identity. The category of “unknown”

continues to be an issue; most have no documentation associated with them while some are truly




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questioning their identity. In future, I will adapt the category to include “questioning” when

appropriate.

Chart of population at various points in time


                        8/2/2022      1/3/2023       4/7/2023      11/13/2023
   Total class          195           238            251           320
   members
   attributed ever
   Total in custody     175           177            186           243
   (and in class)
     Trans Women        126 (72%)     105 (59%)      118 (63%)     162 (66%)
     Trans Men          24 (14%)      22 (12%)       30 (16%)      44 (27%)
     Non-binary         1 (<1%)       3 (2%)         4 (2%)        6 (2%)
     Cis man            2 (1%)        0              0             0
     Unknown            22 (13%)      47 (27%)       34 (18%)      31 (13%)
   Total on GAH         114 (65%)     123 (69%)      124 (67%)     146 (60%)
       Trans Women      101 (89%)     92 (75%)       96 (77%)      111 (76%)
       Trans Men        12 (50%)      20 (90%)       27 (90%)      32 (72%)
       Non-binary       0             0              1             1
       Unknown                                                     2



Section 3: Treatment for Gender Dysphoria – Hormone Therapy

Transwomen

        About 76% of Trans Women are on gender-affirming hormone treatment. This is not

appreciably greater than previously, but the absolute number of individuals being treated has

grown and the number of individuals who are under the care of the endocrinology clinic has also

grown. Eighty two of the 111 (74%) of the transwomen are seen by the endocrinology specialists

and have their medications actively titrated to meet their gender goals. The clinic logged 88 visits

in the first 6 months of 2023, compared to 59 in the same period in 2022, representing nearly a

50% increase in utilization. At least 70 of the 82 transwomen managed by the clinic (85%) are

achieving goal levels of estrogen (evidenced by any lab value >100), comparing favorably to the


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45% noted in the second report of January 2023. [Note that supratherapeutic levels are included

in this assessment as these are sometimes due to mis-timed blood draws (not mid-way between

doses); it does not include accidental trough labs, however, so the true number of transwomen

reaching goal is likely slightly higher.]

        A vast majority of transwomen are offered a choice in hormone therapy, which is a great

improvement over 1 year ago. Most transwomen are now on a combination of injectable estrogen

and injectable androgen blockers. This is most likely contributing to the greater number of

transwomen achieving hormone goals.

Transmen

        There appears to be an up-tick in the total number of identified transmen. I cannot

account for the reasons for this at this time, but as a percentage of the total, they have gone from

about 15% to 27%. Fewer of those identified are on testosterone, however, so I suspect that some

of those who are not taking testosterone are simply mis-identified as transmen, perhaps because

they are “masculine” or “butch”. Most are not followed by the endocrine clinic, possibly

because it is relatively simpler to provide testosterone than estrogen. All except one is housed at

Logan; this may also mean that staff at that facility have greater experience and comfort with

managing testosterone injections in-house.

        Note on IDOC workflow: This is an example of an area where the IDOC forms 0700,

0701, and 0655, which document evidence of gender dysphoria and explore gender identity and

placement and programming needs, would be very useful to review. It is my understanding that

these are not kept in one place and have not been completed on all class members (some are

newer additions to the workflow). I am requesting that a copy of all available IDOC forms

related to gender dysphoria / identity be made available to me for review. I think it would



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behoove IDOC to collect this information into a central area and have them reviewed for

accuracy and updated regularly for planning purposes; it also seems that this information would

form a natural means to develop a needs assessment for the population. It also makes sense that

if the workflow is in place, it should be fully evaluated and utilized. As previously suggested,

this is also a natural place for a transgender care coordinator or navigator to be inserted into the

existing system. Such a person could oversee ensuring that this process works as designed and

feeds valuable information back to decision-makers to ensure compliance with the Court’s orders

to improve the lives of class members.

Section 4: Treatment for Gender Dysphoria – Gender Affirming Surgery

        The rate at which surgical evaluations and surgeries are occurring has increased. In

2023, a total of six surgeries have been completed – 4 vaginoplasties and 2 chest reconstructions.

There were post-operative complications with at least one of the vaginoplasties related to access

to dilation equipment. According to a recent clinic note, however, that situation appears to have

been resolved and the patient is doing well, with no loss of depth and no longer requiring to

dilate as frequently. It is worth exploring the barriers to allowing patients to keep dilators in their

cells to alleviate this problem. The barrier appears to be a concern about safety, but I am not

aware of the exact concerns that security staff has about dilators.

        Individuals who are under the care of the endocrine clinic appear to be aware of the

process for obtaining desired surgeries, as they will alert the physician that they have started the

“pathway to informed consent” which is the IDOC program of education and evaluation pre-

operatively. The final step in that process is referral for consultation at the RUSH Affirm

program.



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          There are 17 additional individuals identified as able to progress to surgical consultation

at the RUSH Affirm program and 15 of those now have appointments listed (some of which have

passed the date as of this writing and updates are pending). Some of the appointments are

scheduled for April of 2024, which is still a considerable time off. In documents I reviewed,

most of the original approvals/requests are from 2021, making this process 2-3 years long.

Newer requests from 2023 appear to be moving more quickly, with 1 year wait times. There are

many more individuals who have voiced a desire for gender-affirming surgery, but they do not

appear to be tracked in any formal way. If a person expresses that desire to the specialty clinic or

via any other means made available to me, I have added it in the note section of their “face

sheet”.

          One barrier to surgical consultation that may not be at all necessary or could be

streamlined is the THAW committee meeting. It seems much more straightforward for an

individual to get the required letters of support from their medical and mental health providers,

as is commonly done in the community. It is unclear if THAW adds additional hurdles to the

process or takes into account things that should have no bearing on the decision to proceed. It is

notable that on all THAW committee minutes, the crime the individual has been convicted of is

included. In addition, it appears that there are a lot of opportunities to defer and postpone over

simple questions. The committee recently decided, for example, that a person’s motivation is

questionable because they did not attend electrolysis sessions and then deferred for 2 months to

find out the answer why. Rather than meet and then defer action, it might be more helpful to

begin their assessment with a face-to-face interview and then follow up if they have concerns or

questions.




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Section 5: Transfers / PRISM

        It appears that IDOC is attempting to voluntarily consolidate willing members of the

class into certain prisons in addition to the PRISM program at Centralia. The Co-Monitors have

been suggesting that consolidation would be beneficial both the class members who would be

more likely to have a supportive peer group and to IDOC who could then concentrate on training

staff more thoroughly in fewer prisons. As a culture of acceptance hopefully takes hold, the

prisons where that culture exists can serve as training grounds for others. The Co-Monitors have

not been informed of any official plans in that regard, but it appears to be the case as the number

of individuals has shifted. As of October 1, 2023, Logan houses the most class members at 57,

followed by Centralia, at 28. Thirteen of the 33 facilities have no class members. Recent hearings

conducted by the Court revealed that transfer requests between prisons appear to be very much

under the control of the warden. If an individual seeks a transfer, it is up to the warden to decide

whether to pass that request on or not. How, or indeed, if this consolidation is taking place, it is

unclear how it being done. It would be helpful, again, if identified individuals can be offered

transfer if it would benefit them, rather than relying on the wardens to serve as gatekeepers to

this process.

        Below is a breakdown of facilities with confirmed class members present as compared

to approximately 1 year ago:




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Change in number of class members housed in different facilities:

 Facility           Oct 2023   July 2022
 Logan                   57          30
 Centralia               28          20
 Pontiac                 18          22
 Pinckneyville           17           8
 Big Muddy               12           9
 Menard                  12           5
 Dixon                    9           3
 Illinois River           9           0
 Western Illinois         7           3
 JTC                      6           6
 Danville                 4           3
 Decatur                  4           0
 Graham                   4           0
 Lawrence                 4           5
 Stateville NRC           4           0
 Jacksonville             3           0
 Shawnee                  3          11
 Taylorville              2           2
 Vandalia                 1           0
 Fox Valley ATC           1           0


Of note, the Logan population has nearly doubled as more transwomen are granted transfers.

Centralia’s population has not grown as much as would be expected with both the PRISM

program, the PRISM, modified (no programming) and the “waitlist” population, but perhaps that

is not yet reflected in the data. Pinckneyville and Menard, the subjects of recent controversy

regarding safety concerns are showing modest population growth. I will note two facilities that

concern me: Pontiac, where there is scant information about members housed there and reports

of individuals voluntarily leaving care due to safety concerns, and Dixon, where a class member

recently reported being sexually harassed.




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Trainings

        No updates on medical staff training are available at this time. IDOC reports that

training is included in the on-boarding process for new hires. Anecdotally, it appears that some

class members do receive access to gender-affirming hormones at the facility level prior to

referral to UIC Endocrinology, so this reflects a greater willingness on the part of primary care to

initiate or continue treatment.

Action items

        I request that both parties kindly review the accompanying “face sheets” for accuracy

and any concerns and alert me in writing regarding any needed adjustments. I ask that IDOC

provide me with monthly census lists (including drops/adds), quarterly labs, and gender-

affirming medication lists without needing to request them. I would like to continue to receive

the endocrinology clinic notes. I would also like to review the IDOC documents included in their

workflow as referenced previously. I invite any feedback regarding this methodology or process

that may be helpful in improving the care of the affected class members.




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